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                         EXHIBIT 1
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                         EXHIBIT 2
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                          EXHIBIT 3
